     CASE 0:10-cr-00187-MJD-FLN      Doc. 130    Filed 09/30/11   Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

United States of America,

            Plaintiff,
v.                                         ORDER
                                           Criminal No. 10‐187

Amina Farah Ali and Hawo Hassan,

           Defendants.
___________________________________________________________________

      It has come to the Court’s attention that Defendant Ali did not rise when

the Court was called to Order on September 30, 2011.

      IT IS HEREBY ORDERED that all parties and counsel are to follow the

Rules of Decorum set forth by the Court, which includes rising when Court is

called to Order. Any party failing to comply with the Rules of Decorum will be

sanctioned by the Court.

Date: September 30, 2011




                                           s/ Michael J. Davis
                                           Michael J. Davis
                                           Chief Judge
                                           United States District Court
